






NOS. 07-07-0368-CR, 07-07-0369-CR, 07-07-0370-CR and 07-07-0371-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



NOVEMBER 2, 2007


	______________________________



KRYSTLE DANIELLE IVORY, APPELLANT


											

V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 53239-E, 53240-E, 53241-E and 53765-E; HONORABLE ABE LOPEZ, JUDGE


_______________________________




Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION


	Appellant Krystle Danielle Ivory, acting pro se, appeals from the trial court's
judgment in four companion cases.  Finding appellant's notices of appeal are untimely, we
dismiss the appeals for want of jurisdiction.

	On August 8, 2006, appellant pled guilty in four separate cases arising from the
same incident.  In three cases, appellant pled guilty to aggravated robbery and received
a twenty-year sentence in each.  In the fourth case, appellant pled guilty to the offense of
robbery and was sentenced to fifteen years in the Institutional Division of the Texas
Department of Criminal Justice.  On the same day, the trial court certified that in each
case, appellant had no right of appeal and that appellant had waived the right of appeal. 
Tex. R. App. P. 25.2.  Appellant filed her notices of appeal in the trial court on April 26,
2007.

	By letter dated October 1, 2007, this Court notified appellant that her notices of
appeal appeared late, and advised her that the Court would determine its jurisdiction after
October 22, 2007.  By the same letter, this Court advised appellant that her appeals were
subject to dismissal unless the Court received amended certifications under Rule of
Appellate Procedure 25.2 providing that appellant has the right of appeal, or she
demonstrated other grounds for continuing the appeals, on or before October 22, 2007. 
Appellant has corresponded with the Court, but her correspondence does not provide
information permitting us to conclude we have jurisdiction over the appeals.  

	In a criminal case, the Texas Rules of Appellate Procedure require that notice of
appeal be filed within 30 days after the day sentence is imposed or suspended in open
court, or after the day the trial court enters an appealable order; or within 90 days after the
day sentence is imposed or suspended in open court if the defendant timely files a motion
for new trial.  Tex. R. App. P. 26.2.  As noted, appellant's notices of appeal from the
judgments and sentences imposed in August 2006 were filed in April 2007. (1)

	Only a timely notice of appeal invokes the jurisdiction of the court of appeals.  State
v. Riewe, 13 S.W.3d 408, 411 (Tex.Crim.App. 2000); Slaton v. State, 981 S.W.2d 208,
209-10 (Tex.Crim.App. 1998).  If an appeal is not timely perfected, a court of appeals does
not have jurisdiction to address the merits of the appeal, and can take no action other than
to dismiss the appeal.  Olivio v. State, 918 S.W.2d 519 (Tex.Crim.App. 1999); Slaton, 981
S.W.2d at 210; Stumpf v. State, 2001 WL 1566655 (Tex.App.-Amarillo 2001, no pet.) (not
designated for publication).

	Further, the rules we must follow require us to dismiss an appeal in a criminal case
in the absence of certification showing the appellant has the right of appeal.  Tex. R. App.
P. 25.2(d).

	Because appellant did not file a timely notice of appeal, we lack jurisdiction to
consider her appeals.  Accordingly, they are dismissed for want of jurisdiction.


						James T. Campbell

						          Justice





Do not publish.


	
1.  Correspondence provided by appellant makes reference to an out-of-time appeal. 
Permission for such a late appeal must be granted by the Court of Criminal Appeals.  Tex.
Code Crim. Proc. art. 11.07 (Vernon 2007). 



xt-align: center"&gt;&nbsp;
CLAY CAMPBELL, CLAIRE CAMPBELL AND CHARLES CAMPBELL
INDIVIDUALLY AND AS EXECUTORS AND BENEFICIARIES
OF THE CHARLES K. CAMPBELL TRUST, APPELLANTS

V.

THE AUTOMOBILE INSURANCE COMPANY 0F HARTFORD
CONNECTICUT AND S. CRAIG GIDEON, APPELLEES
_________________________________

FROM THE 250TH DISTRICT COURT OF TRAVIS COUNTY;

NO. GN301441; HONORABLE MARGARET A. COOPER, JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants Clay Campbell, Claire Campbell and Charles Campbell,


 acting “Individually
and as Executors and Beneficiaries of the Charles K. Campbell Trust” sued The Automobile
Insurance Company of Hartford, Connecticut and S. Craig Gideon (collectively referred to as
“AIC”).  Appellants appeal the trial court’s grant of a take-nothing summary judgment in favor
of AIC.  We will vacate the judgment and dismiss the suit.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;AIC issued a renewal dwelling fire policy insuring a lake house in Austin, Texas.  The
named insureds in the policy were Charles K. Campbell and the Charles K. Campbell Trust. 
Charles K. Campbell, who was appellants’ father, died on a date not reflected in the summary
judgment record.  Appellants had used the house as a vacation home for several years. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants sold the house in March of 2002.  The summary judgment record contains
a 2001 sales contract listing the seller of the property as “Frank G. Jones, Trustee of the
Charles K. Campbell Trust.”  A 2002 amendment to the sales contract states, “The name of
the Seller is changed from Frank G. Jones, Trustee of the Charles K. Campbell Trust dated
6/30/71 to Charles Joseph Campbell, Claire Roberts Campbell and Clayton Kenneth
Campbell, as successors to the Charles K. Campbell Trust dated 6/30/71 by reason of the
trust’s distribution of the subject property by the Distributio[n] Deed dated to be effective June
30, 2001 and recorded in the Real Property Records of Travis County, Texas.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In October of 2001, before the house sold in 2002, appellants filed a claim with AIC for
mold damage to the home’s interior.  After investigating the claim, AIC denied coverage for
the mold damage.   Appellants filed suit in May of 2003 against AIC, alleging breach of
contract, violations of Articles 21.21 and 21.55 of the Texas Insurance Code, violations of the
Deceptive Trade Practices Act, and breach of the duty of good faith and fair dealing.


  As
noted, appellants sued in their individual capacities and as “executors and beneficiaries of
the Charles K. Campbell Trust.”  The trustee of the trust did not participate in the suit.
Appellants’ petition said the trust had “expired.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;AIC’s motion for summary judgment, filed pursuant both to Rules of Civil Procedure
166a(c) and 166a(i), asserted several grounds, beginning with the assertion that AIC was
entitled to summary judgment because appellants were “strangers to the insurance policy” on
which the suit was based and lacked standing to sue.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Following a hearing on AIC’s motion for summary judgment, the trial court sent counsel
a letter stating the court was granting the motion on the basis that the plaintiffs lacked standing
to sue.  The court later signed a take-nothing judgment that does not state the grounds on
which it was granted. This appeal ensued.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants raise eight issues on appeal.  By their first issue they challenge the trial
court’s summary judgment determination that they lacked standing to sue.  We overrule the
issue.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The issue of standing focuses on whether a party has a sufficient relationship with the
lawsuit so as to have a “justiciable interest” in its outcome.  Austin Nursing Center, Inc. v.
Lovato, 171 S.W.3d 845, 848 (Tex. 2005).  The standing doctrine requires that there be a real
controversy between the parties that will be actually determined by the judicial declaration
sought.  Id. (quoting Tex. Ass’n of Bus. v. Tex. Air Control Bd., 852 S.W.2d 440, 443-44 (Tex.
1993)).  Absence of standing deprives a court of subject matter jurisdiction, thus standing may
be raised at any time.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Privity of contract provides a party with standing to maintain a suit on the contract. 
Interstate Contracting Corp. v. City of Dallas, 135 S.W.3d 605, 618 (Tex. 2004); Redmon
v. Griffith, 202 S.W.3d 225, 239 (Tex.App.–Tyler 2006, pet. denied); see also Republic
National Bank of Dallas v. National Bankers Life Ins. Co., 427 S.W.2d 76, 79
(Tex.Civ.App.–Dallas 1968, writ ref’d n.r.e.) (“privity of contract is an essential element of
recovery in an action based on contractual theory”).


  With respect to property insurance
policies, Texas law has long held that a party who is a complete stranger to the contract is not
in a legal position to recover any interest in the policy proceeds.  See Travelers Fire Ins. Co.
v. Steinmann, 276 S.W.2d 849, 851 (Tex.Civ.App.–Dallas 1955, writ ref’d n.r.e.) (stating
general rule); see also Durren v. U.S. Fire Ins. Co., 579 S.W.2d 32, 36 (Tex.Civ.App.–Tyler
1979, no pet.) (also stating rule). The law presumes that a written agreement correctly
embodies the parties’ intentions and is an accurate expression of the agreement between the
parties.  Estes v. Republic National Bank of Dallas, 462 S.W.2d 273, 275 (Tex. 1970); St.
Paul Lloyd’s Ins. v. Fong Chun Huang, 808 S.W.2d 524, 527 (Tex.App.–Houston [14th Dist.]
1991, writ denied).  Thus, proof of the insurance policy provisions allowing the plaintiff to
recover is sufficient to confer standing to sue.  Paragon Sales Co., Inc. v. New Hampshire
Ins. Co., 774 S.W.2d 659, 661 (Tex. 1989).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In their response to AIC’s motion for summary judgment, appellants took the position
their status as the children and beneficiaries of Charles K. Campbell and the “expired”
Charles K. Campbell Trust gave them standing to maintain the action.  The policy contains
language addressing the effect of the death of the named insured, but the language does not
support a contention that appellants, as his children, automatically stepped into his shoes on
his death.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants have advanced two arguments regarding their status as beneficiaries of the
trust bearing their father’s name.  The trust instrument is not in the summary judgment record,
but the 2002 sales contract amendment provides evidence appellants were beneficiaries of
the trust.  They have contended their status as beneficiaries makes them third-party
beneficiaries of the insurance policy.  They cite  Paragon Sales, 774 S.W.2d at 661, for that
proposition. There, the court found documentation provided some evidence to confer standing
on a shipper of goods, as a third-party beneficiary, to enforce a policy of insurance issued to
the bankrupt motor carrier who had lost the goods.  But the court there noted that the policy
endorsement and notice in evidence “expressly provide for recovery by parties shipping
goods . . . .”  Id. at 660.  Appellants can point to no similar language in the policy at issue here,
evidencing an intention to benefit third parties in their position.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants also cite section 282 of the Restatement of the Law (Second) of Trusts in
support of a contention they should be permitted to pursue the claim against AIC because the
trust has terminated.


  AIC does not dispute appellants’ assertion the trust “expired” at a time
before this suit was filed, but the Texas Trust Code expressly provides that the trustee of a
terminated trust may continue to exercise the powers of trustee for the reasonable period of
time required to wind up the affairs of the trust.  TEX. TRUST CODE ANN. § 11.052 (Vernon
2007); see Cogdell v. Fort Worth National Bank, 544 S.W.2d 825, 829
(Tex.Civ.App.–Eastland 1976, writ ref’d n.r.e.) (applying similar Texas Trust Act provision). 
The evidence that the trustee of the Charles K. Campbell Trust was available to execute the
deed to appellants referred to in the 2002 sales contract amendment demonstrates his
availability.  Even if the provisions of the Restatement appellants cite comport with Texas law,
a question we do not decide, there is no evidence the trustee here neglected or refused to
participate in this suit.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As noted, the policy at issue lists Charles K. Campbell and the Charles K. Campbell
Trust as the only named insureds under the policy.  We find the summary judgment evidence
demonstrates there is no genuine issue of fact regarding appellants’ privity of contract with
AIC, and that, as a matter of law, appellants are strangers to the insurance contract, not in a
legal position to recover any interest in the policy proceeds.  Durren, 579 S.W.2d at 36. 
Appellants lack standing to sue AIC on the policy.


  Austin Nursing Center, 171 S.W.3d at
848; Interstate Contracting, 135 S.W.3d at 618.  We overrule their first issue on appeal. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because appellants lack standing, we need not reach most of their other issues on
appeal.  We must, however, address their eighth issue, by which appellants contend the trial
court erred by denying them permission to file additional summary judgment evidence
submitted after the hearing on the motion for summary judgment but before the trial court
signed its judgment.  Civil Procedure Rule 166a(c) provides that, except on leave of court, the
non-movant’s summary judgment response is to be filed not later than seven days before the
day of the hearing on the motion for summary judgment.  The rule further provides that the trial
court shall render judgment if the summary judgment evidence “on file at the time of the
hearing, or filed thereafter and before judgment with permission of the court” shows summary
judgment is appropriate.  TEX. R. CIV. P. 166a(c).  Summary judgment evidence may be filed
late, but only with leave of court.  Benchmark Bank v. Crowder, 919 S.W.2d 657, 663 (Tex.
1996).  As appellants’ brief points out, the trial court has discretion to allow late filing of
opposing summary judgment evidence.  See, e.g., Diaz v. Rankin, 777 S.W.2d 496, 500
(Tex.App.–Corpus Christi 1989, no writ) (stating rule).  Accordingly, we review the trial court’s
denial of leave to file summary judgment evidence late for abuse of discretion.  Fowlkes v. Del
Rio Bank and Trust Co., 747 S.W.2d 443, 444 (Tex.App.–San Antonio 1988, no writ); see
also Carpenter v. Cimarron Hydrocarbons Corp., 98 S.W.3d 682, 686-87 (Tex. 2002) (late-filed summary judgment response). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;AIC’s motion for summary judgment was filed July 21, 2005.  On September 15, 2005,
appellants filed a motion for a continuance of the summary judgment hearing, based on
counsel’s conflicting trial settings. According to that motion, the summary judgment hearing
was set for September 29. Apparently, the motion for continuance was granted because the
summary judgment hearing was held October 26, 2005.  Appellants’ response to the summary
judgment motion was served on October 18.  On November 8, the trial court sent counsel a
letter stating AIC’s motion for summary judgment was granted.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants filed a motion for leave to file a “supplemental” affidavit of Clay Campbell,
together with the affidavit, on December 8.  The motion also requested leave to file an
amended petition.  Appellants’ motion was set for hearing on December 15, 2005, at the
same time the court heard AIC’s motion for judgment.  At the hearing, the trial court denied
appellants’ motion and signed AIC’s proposed judgment.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The supplemental affidavit appellants tendered provided additional information in
support of their contention they had standing to pursue the lawsuit.  On appeal, appellants
contend AIC could not have been prejudiced by the grant of leave to file the supplemental
affidavit.  They do not contend their motion for leave to file the supplemental affidavit was
supported by good cause.  See Cimarron Hydrocarbons Corp., 98 S.W.3d at 687-88.  Nor
is there a contention that the circumstances described in Rule of Civil Procedure 166a(g)
were present.  We find the trial court did not abuse its discretion by denying appellants’ motion
for leave to file the supplemental affidavit, and overrule their eighth issue.        
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because we agree with the trial court that appellants lacked standing to bring this suit,
we conclude the trial court had no jurisdiction to consider it.  Accordingly, we vacate the
judgment of the trial court and dismiss the suit.  TEX. R. APP. P. 43.2.           
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice







&nbsp;



